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        Attorneys for Treasurer of Jefferson County, Montana




                          UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MONTANA


IN RE
                                                                  Case No. 2:22-BK-20132-BPH
MONTANA TUNNELS MINING, INC.,
                                                      HEARING DATE
                       Debtor.                        Date: December 11, 2024
                                                      Time: 9:00 a.m.
                                                      Location: 2nd Floor Courtroom
                                                                Mike Mansfield Federal Courthouse
                                                                400 N. Main Butte, Montana



                 TREASURER OF JEFFERSON COUNTY, MONTANA’S
                       LIST OF WITNESSES AND EXHIBITS



        COMES NOW, The Treasurer of Jefferson County, Montana (“County”), a creditor in

this Chapter 11 case, and hereby notifies the Court and counsel of the witnesses that it may call,

and exhibits it may introduce, at the hearing scheduled for December 11, 2024 on the County’s

Motion for Relief from the Court’s Orders entered at 163 and 164, filed at ECF 167 (“Motion”).




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                                  WITNESSES

The County intends to call some or all of the following witnesses:

       1.      Patrick Imeson

       2.      Joseph Houston

       3.      James Mooney

       4.      Terri Kunz

       5.      Any witness listed by other parties.

       6.      Witnesses necessary for rebuttal.

       7.      Witnesses necessary for impeachment.

       8.      Witnesses necessary for foundation.

                                    EXHIBITS

The County intends to introduce some or all of the following exhibits:

       Ex. No.        Description

       1.      Colorado Secretary of State Organizational Record Confirmation (Doc.
               180-1)

       2.      Certificate of Assignment of County’s Interest in Property Lien dated
               December 21, 2021 (Doc. 180-2)

       3.      Unpaid Metal Mine Extraction Taxes (Doc. 180-3)

       4.      Notice that a Tax Deed may be Issued dated May 9, 2024 (Doc. 146-1)

       5.      Letter from Joseph Houston, counsel for Goldfields Funding Partners,
               LLC, to Montana Department of Environmental Quality dated July 26,
               2024.

       6.      Letter from James Mooney to Martin S. King dated December 6, 2024.

       7.      All schedules, pleadings, plans, orders, transcripts, testimony, operating
               reports, and all other documents, reports and records of whatever type
               filed in this case.



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               8.     All schedules, pleadings, orders, transcripts, testimony, operating reports,
                      and all other documents, reports and records of whatever type filed in LD
                      Construction, Inc., United States Bankruptcy Court, District of Montana
                      case number 4:23-bk-40063-BPH

               9.     All exhibits listed by other parties.

               10.    Documents and evidence necessary for impeachment.

               11.    Documents and evidence necessary for rebuttal.

       Respectfully submitted this 6th day of December, 2024.

                                              By: /s/ Martin S. King
                                              Martin S. King, Attorney for
                                              Treasurer of Jefferson County, Montana


                                 CERTIFICATE OF MAILING

        I, the undersigned, do hereby certify under penalty of perjury, that on December 6, 2024,
a copy of the foregoing document was served by electronic means pursuant to LBR 9013-1(d)(2)
on the parties noted in the Court’s ECF transmission facilities and by first class mail as follows:


Montana Tunnels Mining, Inc.
P.O. Box 176
Jefferson City, MT 59638-0176
                                                              /s/ Christina DiMuro
                                                              Christina DiMuro




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